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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO. 1:14-cev-23323-RNS
Consolidated Case No. 1:14-cv-24140-RNS

ANDRE CHAPMAN, as Personal
Representative of the ESTATE OF
DARREN RAINEY, on behalf of the
Estate, and on behalf of Darren Rainey’s
Surviving Relatives, Andre Chapman,
Renee Chapman, Deborah Johnson,
Chineaqua Breelove and Harold Marr,

Plaintiff,
VS.

FLORIDA DEPARTMENT OF
CORRECTIONS, an Agency of the State
of Florida, CORIZON, L.L.C., an out-of-
state limited liability corporation doing
business and registered in Florida,
ROLAND CLARKE, CORNELIUS
THOMPSON and JERRY CUMMINGS,

Defendants.

/

 

PLAINTIFF ANDRE CHAPMAN’S MOTION FOR ENTRY OF ORDER
AUTHORIZING RELEASE OF SETTLEMENT PROCEEDS
TO SUTTON LAW GROUP, P.A. TRUST ACCOUNT
COMES NOW, Andre Chapman, as Personal Representative of the Estate of

Darren Rainey, and files this Motion For Entry of Order Authorizing Release of
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Settlement Proceeds to “Sutton Law Group, P.A. Trust Account.” As grounds it is
alleged:

1. On February 26, 2018, this Court entered an order approving a
$4,500,000 settlement of this case and designating Sutton Law Group to receive the
funds into its trust account. (Dkt. #266). For reasons stated below, that order was
later vacated. Plaintiff hereby requests that the Order be reinstated or a new Order
authorizing same be issued such that the settlement funds are ordered released to
“Sutton Law Group, P.A. Trust Account.”

2. Probate Circuit Judge Maria Korvick found that the settlement funds
were not an estate asset and approved the settlement on July 24, 2018.

3. This Court has jurisdiction to determine matters in this case because an
earlier appeal by Linda Commons to the Eleventh Circuit Court was dismissed on
October 4, 2018. (Dkt. #333).

4. Counsel participated in a “meet and confer” on October 19, 2018
before the filing of this motion and the following were the respective positions:

All defense counsel (Greg A. Toomey, Lourdes Espino Wydler, Monica
Stinson, and Sheri K. Weissenborn) had no opposition to the motion except they
requested 30 days from the date of this Court’s order to make payment of their
respective settlement funds.

Christopher Q. Wintter, on behalf of Estate of Daralyn Joyce Anderson, does
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not disagree with the gross settlement amount, but will oppose the motion for other
reasons. !

5. While a Motion to Intervene filed by Joyce Anderson as Personal
Representative of Daralyn Joyce Anderson is pending in this Court, and Linda
Commons still claims entitlement to some attorney’s fees (even though she has no
standing), on information and belief, they do not object to the amount of the gross
settlement, but object to the apportionment of the settlement proceeds.

6. Pending resolution of the apportionment, and in view that defendants
do not object to the release of the settlement funds, settlement proceeds should be
released to the “Sutton Law Group P.A. Trust Account” so that the defendants and
their counsel can be relieved from further participation in this action.

7. In addition, Plaintiffs contend that for the following further reasons the
funds should be released as requested herein:

A. | Ms. Commons lacks standing to object to the gross amount of
the settlement. Her Attorney Charging Lien was stricken by order of this
Court on April 13, 2018. (Dkt. #279). She dismissed her Eleventh Circuit
Court appeal of the order. (Dkt. #333).

B. Joyce Anderson’s only interest, if any, is limited by Fla. Stat.

 

‘Linda Commons, who is not a party to this action and whose attorney lien was stricken
by this Court and who dismissed her appeal re same, also participated in the meet and confer and
objects to the motion.
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768.24 to eight months loss of support and services Darren Rainey may have
provided to her deceased daughter, Daralyn Joyce Anderson, who died eight
months after Darren Rainey. Darren Rainey was incarcerated and would
have been incarcerated during this entire eight month period (had he not
died), so the claim is questionable since he could not have provided any
support or services to her. The claim, even if valid, is limited to eight
months because Daralyn died eight months after Darren Rainey when she
was 28 years old, and this case had not even been filed or this settlement
obtained. (Fla. Stat. 768.24 - Death of a Survivor Before Judgment).
8. Andre Chapman signed the settlement “Release” document as ordered
by the probate court and it was delivered to Defendants’ counsel on July 30, 2018.
9. This Court first approved the gross amount of settlement and directed
Andre Chapman to deliver a signed release and that settlement proceeds be
deposited in the Sutton Law Group trust account in February 2018. That order was
vacated when, in an abundance of caution, Chapman sought probate court approval
of the settlement first which has now been obtained.
10. For the reasons stated, Andre Chapman requests that this Court reinstate
its Order, or issue a new Order, that Defendants deliver to John R. Sutton of the
Sutton Law Group P.A. their respective portion of the gross settlement amount of

$4,500,000 via settlement drafts payable to “Sutton Law Group P.A. Trust
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Account,” within 30 days of such Order.

Dated: 10/19/18 By: /s/ Milton C. Grimes
MILTON C. GRIMES, Esq. (CA Bar No. 59437)
(admitted pro hac vice)
LAW OFFICES OF MILTON C. GRIMES, APC
3774 W. 54" Street
Los Angeles, CA 90043
Tel. (323) 295-3023
Email: miltgrim@aol.com
Attorneys for Plaintiffs
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CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that on October 19, 2018 a true and correct copy of the
foregoing PLAINTIFF ANDRE CHAPMAN’S MOTION FOR ENTRY OF
ORDER AUTHORIZING RELEASE OF SETTLEMENT PROCEEDS
TO SUTTON LAW GROUP, P.A. TRUST ACCOUNT and all attachments has
been filed with the Court utilizing its CM/ECF system, which will transmit a notice
of electronic filing to all counsel or parties of record registered with the Court for
that purpose.

By: /s/ ANNETTE NEWMAN

Annette Newman, Esq.
Fla. Bar No. 84537

LAW OFFICE OF ANNETTE NEWMAN, LLC
101 NE 3" Ave., Suite 1500
Ft. Lauderdale, FL 33301-1181
Tel. (888) 333-5580
Email: annettenewmanesq(@gmail.com
Attorney for Plaintiffs
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Monica Stinson, Esq.

Senior Assistant Attorney General
OFFICE OF ATTORNEY GENERAL
The Capitol - PLO1

Tallahassee, FL 32399-1050

Phone: (850) 414.3300

Fax: (850) 488.4872

Email:
Monica.Stinson@myfloridalegal.com
Attorneys for Defendant FDOC

Sheridan Weissenborn, Esq.
DUTTON LAW GROUP, PA
9700 S. Dixie Hwy., Suite 940
Miami, FL 33156

Phone: (786) 871-7971

Fax: (239) 337-030

Email:
sweissenborn@duttonlawgroup.com
nvallecillo@duttonlawgroup.com
Attorneys for Defendant Jerry
Cummings

Christopher Q. Wintter, Esq.
WINTTER & ASSOCIATES, P.A.
14 Rose Drive

Fort Lauderdale, Florida 33316
Phone: (954) 920-7014

Email: cqw@wintterlaw.com

Max Price, Esq.

LAW OFFICE OF MAX R. PRICE,
P.A.

6701 Sunset Drive, Suite 104
Miami, FL

Gregg A. Toomey, Esq.

THE TOOMEY LAW FIRM LLC
The Old Robb & Stucky Building
1625 Hendry Street, Suite 203

Fort Myers, FL 33901

Phone: (239) 337-1630

Fax: (239) 337-030

Email: GAT@thetoomeylawfirm.com
hms@thetoomeylawfirm.com
alr@thetoomeylawfirm.com
Attorney for Defendant Corizon, LLC

Lourdes Espino Wydler, Esq.
Oscar Marrero, Esq.
Alexandra C. Hayes, Esq.
MARRERO & WYDLER
Douglas Centre PH-4

2600 Douglas Rd.

Coral Gables, FL 33134
Phone: (305) 446-5528

Fax: (305) 446-0995

Email: lew@marrerolegal.com
dinah@marrerolegal.com

oem@marrerolegal.com

ach@marrerolegal.com

nv@marrerolegal.com
Attorneys for Defendants Roland

Clarke and Cornelius Thompson

 

John R. Sutton, Esq.

SUTTON LAW GROUP, P.A.
7721 SW 62nd Ave., First Floor
South Miami, FL 33143

Phone: (905) 667-4481

Email: Info@SuttonLawGroup.com

Linda Bellomio Commons, Esq.
LAW OFFICE OF LINDA B.
COMMONS, P.A.

P.O. Box 340261

Tampa, FL 33694
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Phone: (305) 662-2272 Phone: (352) 610-4416
Email: mprice@pricelegal.com Email: lcommons@aol.com
